                                                            United States District Court
                                                              Southern District of Texas

                                                                 ENTERED
                                                             December 28, 2023
                                                              Nathan Ochsner, Clerk

           UNITED STATES DISTRICT COURT
            SOUTHERN DISTRICT OF TEXAS
                HOUSTON DIVISION

ATARAH MCCOY,             §   CIVIL ACTION NO
         Plaintiff,       §   4:23-cv-04127
                          §
                          §
     vs.                  §   JUDGE CHARLES ESKRIDGE
                          §
                          §
SHAULIS BOOKER and        §
TELAMON                   §
CORPORATION,              §
         Defendants.      §

              MINUTE ENTRY AND ORDER

    Minute entry for an INITIAL CONFERENCE before Judge
Charles Eskridge on December 27, 2023. All parties
present by video and represented by counsel.
    The Court addressed the scheduling and docket control
order and the joint discovery and case management plan.
Dkts 4 & 8.
    Defendants were ORDERED to file an answer within
fourteen days.
    The parties should continue to confer in good faith
regarding discovery and the potential for settlement.
    SO ORDERED.


   Signed on December 27, 2023, at Houston, Texas.



                         __________________________
                         Hon. Charles Eskridge
                         United States District Judge
